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                         Expert Report of Phillip S. Cuculich, MD

         In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)
                                   October 14, 2016


  Introduction

  I have been asked to offer general opinions regarding the risks related to the clinical use
  of rivaroxaban (Xarelto), specifically as it relates to stroke risk reduction related to the
  heart rhythm disorder known as atrial fibrillation (AF). In preparation of this report, I
  have reviewed numerous materials, which are outlined in a separate attachment to this
  report (Appendix A).

  In addition to the above-described materials, I also rely on my background, education,
  training and clinical experience as described below, as well as the relevant published
  literature. Please note that all of the following statements and opinions, unless
  otherwise stated, are made with a reasonable degree of medical and scientific certainty.
  I have applied the same method of review and analysis as I use in my clinical and
  academic practice. I also reserve the right to amend these opinions as new information
  becomes available to me.


  Background and Qualifications

  Attached to this report is my curriculum vitae that more fully describes my background,
  education and training (Appendix B). Briefly, I am a licensed physician practicing in the
  state of Missouri. I attended medical school at the Vanderbilt University School of
  Medicine (Nashville, TN), receiving my degree in 2001. I completed my training in
  Internal Medicine at Northwestern University at the McGraw Medical Center (Chicago,
  IL), where I was invited to be the Chief Medical Resident. I completed advanced
  fellowships in Cardiovascular Diseases and Clinical Cardiac Electrophysiology, both at
  Washington University at Barnes-Jewish Hospital (St. Louis, MO). I have been an
  attending physician at Barnes-Jewish Hospital since 2009 where I currently practice
  Cardiovascular Medicine and Cardiac Electrophysiology (heart rhythm disorders). In
  clinical care, I treat patients in both the outpatient and inpatient settings, including
  Cardiac ICU care. A major component of my daily practice involves the treatment of
  patients with atrial fibrillation. I am routinely asked to evaluate patients’ candidacy for
  oral anticoagulation or cardiac procedures to prevent AF-related strokes. I perform
  catheter ablations to treat atrial fibrillation, which involves inserting long thin catheters
  into the heart and meticulously heating precise areas of the heart that harbor AF
  electrical circuits. I also have performed invasive cardiac procedures to close the left
  atrial appendage, the area of the heart thought to be the source for many blood clots
  that cause strokes.




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  Over the course of my career, I have cared for many patients who have suffered from
  AF-related complications, including strokes and severe bleeding as a consequence of
  the blood thinner medications to reduce stroke risk; both the acute effects and the
  longer-term consequences. In collaboration with the Stroke Team at Barnes-Jewish
  Hospital, I have created a Clinical Carepath to facilitate methods for rapid and accurate
  identification of AF in patients who have suffered from cryptogenic strokes through the
  means of a tiny injectable heart monitor. In this document, I may call upon personal
  examples of patients who have asked me my opinions regarding blood-thinner use,
  which can only be addressed in a patient-specific manner.

  My research at the Washington University School of Medicine is far-reaching and
  largely revolves around better understanding heart rhythm diseases and consequences
  of these disorders. I am currently an Associate Professor of Medicine at the Washington
  University School of Medicine. For additional background regarding my clinical and
  research activities, and publications authored by me in the last ten or more years,
  please refer to my curriculum vitae that is attached to this report (Appendix B). Besides
  research and clinical practice, I teach Cardiovascular Medicine and Electrophysiology to
  medical students, residents, and fellows throughout Washington University affiliated
  training programs. I have won various teaching and research awards in this capacity.

  I have written multiple textbook chapters on cardiovascular medicine and
  electrocardiography, and I am an editor of two editions of popular textbooks in
  cardiovascular medicine, “Washington Manual Cardiovascular Medicine Subspecialty
  Consult.” Several chapters in these books are devoted to mechanisms, treatment, and
  prevention of cardiovascular diseases, atrial fibrillation, strokes and bleeding risks.

  My prior testimony for the past four years and my fee schedule for this litigation are
  attached to this report (Appendix C & D).


  Summary of Opinions

      1) Anticoagulants (blood thinners) reduce the risk of thromboembolism (traveling
         blood clots that cause strokes) in patients with atrial fibrillation (AF). However, in
         doing so, they increase risks of bleeding events, which can be life threatening.
         The gold standard of blood thinners is warfarin. Because of the serious risks,
         there is a system-wide obligation to provide the safest methods of administration
         of blood thinners.

      2) “Precision Medicine” is a popular term that defines the current direction of human
         medical care. A main tenet of precision medicine is that individuals have unique,
         patient-specific risks for diseases, and unique, patient-specific effects to
         treatments. Decisions to use blood thinners take into account a number of clinical
         factors. Safe, appropriate, responsible ways to administer the blood thinners
         recognize the individual patient’s risk of variability of a drug metabolism and
         effect.


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      3) Rivaroxaban (Xarelto) was approved by the US FDA in November 2011 to
         reduce the risk of stroke and systemic embolism in patients with nonvalvular
         atrial fibrillation. It was marketed as a once-daily blood thinner that did not require
         blood testing because the effect was very predicable across all populations and
         the medication had a large therapeutic window (range of blood concentration that
         was both safe and effective). Moreover, prescribers were told there were no
         approved ways to measure the effect of the drug because testing was not
         necessary.

      4) To help my patients make the best decisions about the appropriateness and
         safety of rivaroxaban, I counsel them using information from published clinical
         trials, the package insert, and information received from Bayer/Janssen
         representatives. Unfortunately, all three of these avenues of information offered
         misleading information.

         a.      CLINICAL TRIAL: The pivotal trial for the use of rivaroxaban for the
         prevention of stroke in patients with atrial fibrillation (ROCKET-AF) was
         inadequate in the following important ways: A) the control arm using warfarin
         was managed in a historically poor way (very low time in therapeutic range (TTR)
         for patients taking warfarin); and B) the warfarin testing device (point-of-care INR
         monitor from Alere) produced inaccurate INR levels. Therefore, ROCKET-AF
         does not provide a reliable comparison between the use of rivaroxaban and well-
         controlled warfarin, especially in the US.

         b.     PACKAGE INSERT: The product label for rivaroxaban was inadequate
         at product launch. The rivaroxaban product insert should have contained: A) a
         black box warning for bleeding risk, like warfarin; B) for US FDA approval, data
         using US-only centers should be shared; C) available pharmacokinetic data,
         ideally with ranges (5/95 percentiles) for treating physicians to assess the inter-
         patient variability of this medication; D) advice regarding methods to test drug
         concentration or bleeding effect, particularly with prothrombin (PT), which in
         pharmacokinetic and pharmacodynamic studies demonstrated a significant
         number of “super-responders” who are at risk for bleeding; E) clinically actionable
         data recommendations regarding bleeding events while on this medication.

         c.     BAYER/JANSSEN REPRESENTATIVES: Information shared from
         Bayer/Janssen representatives with prescribers, including me, reinforced the
         notion that blood testing was not needed for safe administration of rivaroxaban.
         In contradiction to what was told to prescribers like me, rivaroxaban has a
         narrow therapeutic window. That is, the difference between the amount of
         rivaroxaban necessary to properly anticoagulate, and the amount that would put
         a patient at increased risk of significant bleeding, is fairly small. Also,
         rivaroxaban actually has a higher inter-patient variability than prescribers
         like me were led to believe. In short, a single dose does not safely treat all
         patients.


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      5) To maximize the safety for our patients taking blood thinners using precision
         medicine principles, prescribers would welcome: A) a way to measure the
         plasma concentration or anticoagulant effect of the medication in a patient-
         specific way with; B) dosing adjustment to tailor the perfect amount of
         anticoagulant effect while avoiding unnecessary bleeding; C) an antidote to
         rapidly reverse bleeding effect in case of a life-threatening bleeding event.
         Bayer & Janssen failed to provide this critical blood testing, advice on dosing
         adjustments, and reversal agents to prescribers, routinely citing that such testing,
         dosing adjustments and reversal agents were not necessary. In short, patient
         safety could be significantly improved, but patient safety was not a first
         priority. A single blood test (PT with Neoplastin reagent) is an effective way to
         screen for “super-responders” who are unwittingly exposed to significantly
         increased bleeding risk. According to the FDA advisory committee, this
         population may represent up to 25% of patients in the ROCKET-AF study.

  BACKGROUND:         EPIDEMIOLOGY         AND     STROKE     PREVENTION        IN   ATRIAL
  FIBRILLATION

  Atrial fibrillation is the single most common heart rhythm disorder. Recent evidence
  suggests that in 2010, AF affected 33.5 million people worldwide, and its prevalence
  continues to grow. In the United States alone, roughly 4 million people have AF.
  Prevalence increases with advancing age. For Americans of European descent who are
  40 years old, the lifetime chance of developing AF is ~ 25%.

  Patients with AF have widely variable symptoms, ranging from being completely
  unaware of the heart rhythm disorder to being nearly incapacitated by the symptoms.
  Decisions regarding the intensity of treatment are tailored to each patient, largely guided
  by the severity of symptoms. Similarly, stroke risks related to AF range widely, and
  decisions regarding stroke-reduction therapies are tailored to each patient. The
  treatments to reduce stroke risk are almost always oral anticoagulation (blood thinners).
  Decisions to use oral anticoagulation are based on competing increased risks of
  bleeding with reduction of risk of stroke. Recent guidelines published from the American
  College of Cardiology/ American Heart Association/ Heart Rhythm Society support the
  regular use of a scoring system (CHA 2 DS 2 -VASc) to identify patient characteristics that
  suggest higher risk for stroke (Figure 1). In general, the more high-risk features, or the
  more points on the scoring system, the higher the annual risk of stroke. Guidelines
  support the use of oral anticoagulation in most patients with a yearly risk of a stroke that
  exceeds 2% (red line).




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  Figure 1. CHADS-VASC Scoring System




                     (Adapted from Lip G, et al. Chest, 2010)

  The main drawback to oral anticoagulation is the increased risk of bleeding. Several
  scoring systems have been developed and validated, highlighting particular patient-
  specific factors that increase the risk of bleeding (Figure 2). Of note, the HAS-BLED
  scoring system identified patients who were at increased risk of bleeding based on
  clinical risk factors and monitoring the levels/effects of blood thinners medication.
  Variations or extremes of blood thinner effect, measured with widely-available
  monitoring, carry bleeding risk.

  Figure 2. HAS-BLED Scoring System




                     (Adapted from Pisters R, et al. Chest 2010)

  Decisions by treating physicians to use oral anticoagulation for patients with AF are
  tailored toward patient-specific conditions and preferences, which attempt to balance
  the potential benefits with the known bleeding risks.




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  THE STANDARD: ORAL ANTICOAGULATION WITH WARFARIN

  From 1954 to 2010, the only oral anticoagulant that was available to reduce stroke risks
  in patients with atrial fibrillation was warfarin. This medication has been the gold
  standard for oral anticoagulation for decades. The development of warfarin began in
  1920, with an outbreak of bleeding-related deaths among cattle near the US-Canada
  border. Two decades later, testing linked these deaths to spoiled sweet clover that was
  ingested by the animals. The responsible compound was purified and tested at the
  Wisconsin Alumni Research Foundation (WARF) and eventually marketed as a
  rodenticide in 1948. In 1954, it was approved by the US Food & Drug Association for
  medical use. It was not until 1978 that the mechanism of the drug was discovered
  (vitamin K-epoxide reductase inhibitor).

  Because of the high degree of inter-patient and intra-patient variability related to the
  pharmacokinetics of the drug, dose variability is affected by age, race, body weight,
  gender, concomitant medications, comorbid conditions, genetic factors and dietary
  vitamin K. It is a drug with a narrow therapeutic range, and anticoagulation must be
  carefully monitored to avoid life-threatening situations. This is accomplished through
  frequent blood plasma measurements of prothrombin time (PT), standardized to an
  international ratio (INR). Regular monitoring is indicated for all patients who start and
  maintain on this medication. Dosing is adjusted based on the results of the PT/INR
  blood test. Because of the frequent dose adjustments and blood draws, patient
  compliance with warfarin can be limited.

  The most obvious and common concern with warfarin is major or fatal bleeding. This is
  most common within the first month of initiation. There are a number of factors that have
  been associated with bleeding risk (see package insert), with the most predictive being
  elevated levels of anticoagulant effect (INR>4.0). In various randomized clinical trials
  with warfarin to prevent AF-related strokes, the overall risk of major bleeding ranged
  from 0.6% to 2.7% over the course of the study. A “black-box warning” was added to
  warfarin’s product label in 2006 due to life-threatening bleeding. Fortunately, there are
  relatively fewer deaths linked to warfarin-related bleeding because warfarin has several
  reversal agents. For less urgent reversal, oral or intravenous vitamin K can be
  administered. For more urgent reversal, fresh frozen plasma is commonly used.
  Moreover, vigilant monitoring of the bleeding effect with periodic blood tests drastically
  reduces risks of bleeding with warfarin and is currently the standard of care for the use
  of this medication.

  Warfarin has repeatedly been shown to reduce the rates of AF-related strokes in
  multiple clinical trials (Figure 3). The relative effect of stroke reduction ranges from 45%
  to 76% compared to placebo.




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  Figure 3. Clinical Trials Supporting Warfarin Use for Stroke Risk Reduction




                       (Adapted from Petersen P, et al Lancet 1989; EAFT Lancet 1993;
                       Cohen et al, Circulation 1991; Blackshear L, et al Lancet 1996)

      x   64% mean relative risk reduction (RRR)
      x   2.7% absolute risk reduction (ARR) per year
      x   Number of patients needed to treat (NNT) each year to prevent one stroke is 37.
      x   NNT of patients who had a prior stroke or TIA each year to prevent one stroke is
          12.

  As such, warfarin receives the strongest recommendation for prevention of AF-related
  stroke in patients with elevated risk and is the comparator gold standard drug to which
  other blood thinners are compared. Warfarin is also a medication that embodies the
  very important contemporary concept of “precision medicine.” This direction of clinical
  practice has gained tremendous momentum rover the past several decades and
  recognizes that people are fundamentally different from each other. As such, treatment
  options and doses should be tailored to each individual to maximize the effect and
  minimize the risk. In the example of warfarin, patients are evaluated regularly for blood
  thinner effect and the dose of the medication is adjusted. If the blood test is too low,
  patients are at higher risk of for ischemic (clot-related) events. If the blood test is too
  high, patient are at risk for bleeding events. The “therapeutic window” is the ideal effect
  of the medication, maximizing the effect while minimizing the risk. In the case of
  warfarin, the “therapeutic index” is identified with the blood test (INR) result between 2.0
  and 3.0 (see Figure 4).




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  Figure 4. Warfarin Therapeutic Index: Incidence Rates of Ischemic Stroke and
  Intracranial Hemorrhage Among Patients with Nonvalvular Atrial Fibrillation Taking
  Warfarin.




  (Adapted from 2006 ACC/AHA/ESC Guidelines for Management of Patients with Atrial
  Fibrillation)

  Using this patient-tailored method, patients are treated in the safest and most effective
  ways. Unfortunately, warfarin exhibits significant intra-patient variability; that is, in the
  same patient using the same dose of medication, there may be a wide range of effect at
  any point in time. Also, warfarin exhibits wide inter-patient variability; that is, between
  patients on the same dose of medication across a population, there may be significant
  differences in the effect of the medication. Simply put, in the case of blood thinners like
  warfarin, the practice of precision medicine requires the ability to test the effect or
  plasma level of a medication.




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   HOW RIVAROXABAN (XARELTO) WAS DEVELOPED AND APPROVED FOR USE

   Rivaroxaban (Xarelto) was developed and manufactured by Bayer, and is marketed in
   the United States through a joint partnership between Bayer and Janssen. It is a direct
   Factor-Xa inhibitor and a member of the class commonly referred to as the new oral
   anticoagulants (NOACs), comprised of Xarelto (rivaroxaban), Pradaxa (dabigatran),
   Eliquis (apixaban), and Savaysa (edoxaban), which were developed to offer an
   alternative to warfarin, the gold standard in oral anticoagulation. Based upon
   submission by Janssen and Bayer, the Food and Drug Administration (FDA) approved
   Xarelto for three indications: 1) the prophylaxis of deep vein thrombosis (DVT) and
   pulmonary embolism (PE) in patients undergoing hip or knee replacement surgeries
   (approved July 1, 2011); 2) to reduce the risk of stroke and systemic embolism in
   patients with non-valvular atrial fibrillation (approved November 4, 2011); and 3) the
   treatment of DVT and/or PE and the reduction in recurrence of DVT and/or PE
   (approved November 2, 2012). Xarelto is available in doses of 20mg, 15mg, and 10mg.

   This report will focus mainly on the atrial fibrillation indication, which relied on the pivotal
   Phase III clinical trial, Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition
   Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in
   Atrial Fibrillation (ROCKET AF). In short, the ROCKET trial found that Xarelto was non-
   inferior to warfarin for the prevention of stroke and systemic embolism in patients with
   non-valvular atrial fibrillation, with similar rates of major bleeding and non-clinically
   significant major bleeding).


   HOW RIVAROXABAN WAS MARKETED TO PRESCRIBERS LIKE ME

   Bayer/Janssen marketed rivaroxaban with the premise of low inter-patient an intra-
   patient variability. One drug dose (20mg PO daily) would safely treat all users with
   normal kidney function to reduce the risk of stroke and systemic embolism in patients
   with nonvalvular atrial fibrillation. If kidney function was reduced, a lower dose was
   recommended (15mg PO daily). No additional blood testing would be necessary over
   time. Moreover, a blood test to assess the effect of the medication was not even
   available. There was great excitement surrounding this class of medication, because if
   the drug dosing and effects were indeed as predictable as it was marketed, it would
   address important limitations to warfarin use and inconvenience of frequent blood
   testing for patients.

   While the concept is appealing, to a skeptical practicing clinician it defied medical logic
   to think that one dose of a medication could provide the same effect for all ages, all
   sizes, and all confounding characteristics that make each patient unique. As opposed to
   “precision medicine,” using a blood thinner without the ability to assess its effect felt like
   “flying blind,” trying something new without guidance or instruction.

      x   When it was tested in a large clinical trial (ROCKET-AF), the dosages of
          rivaroxaban were fixed and there were no additional clinical testing for effect of
          blood thinner or any dose-modification for rivaroxaban, suggesting indirectly “one
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          dose fit all.” No further studies were reported regarding blood concentrations of
          rivaroxaban or blood thinner effect prior to US FDA approval.
      x   When approved for use by the US FDA, the sales force from Bayer/Janssen with
          whom I interacted would cite ROCKET-AF as evidence that clinical testing
          (effect of the blood thinner) was not needed and that rivaroxaban had a
          large therapeutic window.
      x   When I asked for the dose-finding data that supported the ROCKET-AF dose, or
          for evidence of blood thinner effects across populations of people, I was told that
          the medication dosing was “internally validated” but not published or
          publicly available.
      x   When I was managing patients in particularly difficult situations, such as patients
          taking rivaroxaban awaiting emergent surgery or patients who developed blood
          clots despite taking rivaroxaban, and I asked for help/advice for testing
          anticoagulant effect, I was told that no approved testing was available to help
          me guide my decision.


   THE DATA AVAILABLE             TO    HELP     ME   COUNSEL       MY    PATIENTS      WAS
   INCOMPLETE

   With a strong marketing push from Bayer and Janssen, rivaroxaban quickly became a
   popular topic of conversation in my clinic, where I treat many patients with atrial
   fibrillation. I would use the available sources of information to help educate my patients,
   namely the published clinical trial (ROCKET-AF), the rivaroxaban product insert, and my
   local Bayer/Janssen representatives. However, over time, each of these proved to be
   incomplete and misleading.

   A) The Clinical Trial—

          The control arm of ROCKET-AF using warfarin underperformed

   In the ROCKET-AF trial, rivaroxaban was compared against warfarin in a randomized
   fashion. It is very important to note, however, that the clinical management of warfarin
   (quality of the INR blood tests, frequency of the INR blood tests, decisions regarding
   dose adjustment) directly influences the effectiveness and safety of warfarin. In short, a
   “warfarin” control group is both the drug and the management.

   The standard way to describe warfarin management is “Time in Therapeutic Range
   (“TTR”). Higher TTR has been associated with better outcomes (i.e., fewer strokes and
   bleeds). The therapeutic range for INR of atrial fibrillation patients on warfarin is
   universally accepted to be 2-3. It is also nearly universally recognized by applicable
   authorities and guidelines that an INR greater than 4 necessitates a dose reduction in a
   warfarin treated patient. In previous warfarin vs. NOAC trials, the TTR were 62%
   (ARISTOTLE) and 64% (RE-LY). In previous warfarin vs. aspirin trials, the TTR were
   70% (SPAF), 74% (AFASAK) an 83% (BAATAF).


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   ROCKET-AF had the lowest TTR for any warfarin trial (55%). Because of such poor
   warfarin management, the results of ROCKET-AF are inherently biased in favor of
   rivaroxaban. This was specifically noted in the FDA Summary Review Memorandum,
   specifically the two reviewers who recommended against approval of Xarelto for the
   atrial fibrillation indication based in part on the low TTR in ROCKET-AF. This was
   addressed in the Xarelto labeling with the following language: “There is insufficient
   experience to determine how XARELTO and warfarin compare when warfarin therapy is
   well-controlled.”

          US-only centers had better results with warfarin than rivaroxaban

   One oft-cited reason for substandard warfarin management in ROCKET-AF is the heavy
   use of sites in developing countries. The FDA had the opportunity to review country-
   specific results for ROCKET-AF, and predictably, for sites where warfarin TTR was
   better, the clinical outcomes of rivaroxaban were less favorable when compared to
   warfarin.

   In ROCKET-AF subjects in the US, where the TTR was 64%, there was a 28%
   increased risk of the primary safety endpoint for rivaroxaban as compared to warfarin, a
   50% increased risk of major bleeding, and a 61% increased risk of transfusion, all of
   which were statistically significant. However, despite these alarming and certainly
   relevant results, the US label did not relay this information to prescribers until
   September 2015. (November 2011 Xarelto Approval Label; September 2015 Xarelto
   Label)

          The warfarin point-of care testing device used in ROCKET-AF was flawed

   The ROCKET-AF clinical trial compared Xarelto to the active comparator, warfarin. The
   safety and efficacy of warfarin is dependent upon appropriate monitoring and dose
   adjustments. The warfarin arm of ROCKET was monitored using a defective point-of-
   care (POC) INRatio device.

   The defective POC INRatio device underreported true INR values, which resulted in the
   overanticoagulation of warfarin patients and therefore caused additional bleeds. The
   device used in ROCKET has been removed from the market as unfit for use. At two
   timepoints during the ROCKET trial, INR values were analyzed using two methods. One
   sample was analyzed using the defective POC INRatio device, while the second sample
   (collected in the same patient, at the same time) was analyzed by a central laboratory.
   A comparison of these two values reveals that the POC device malfunctioned in a large
   portion of warfarin patients, to a degree of clinical significance. For example, in the table
   below, one can see that 28.5% of the patients identified by the central laboratory as
   having an INR greater than 4 were misclassified by the POC device as being below
   therapeutic range or within therapeutic range.




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   (EMA CHMP Assessment Report, Feb. 5, 2016)

   Such misclassification of INR values in warfarin treated patients would unwittingly result
   in improper overdosage and resulting bleeds. Therefore, it is my opinion that the bleed
   rate of the warfarin patients, and therefore any comparison with the bleeding rate of
   rivaroxaban patients, is flawed. (EMA CHMP Assessment Report, Feb. 5, 2016; FDA
   ROCKET AF Reanalysis, Sept. 26, 2016; Patel, et al., Point-of-care warfarin monitoring
   in the ROCKET AF trial, NEJM, 2016; Powell, Letter to the Editor, Point-of-care warfarin
   monitoring in the ROCKET AF trial, NEJM, 2016; Patel, et al., Author’s Reply to Letter
   to the Editor, Point-of-care warfarin monitoring in the ROCKET AF trial, NEJM, 2016)

   B) The Product Label
   The rivaroxaban product label failed to properly inform physicians regarding the risk of
   major and non-major clinically relevant bleeding.

          No “black box warning” for bleeding risk

   Warfarin carries a “black box” warning on its product label for risk of severe bleeding
   since 2007. Rivaroxaban, which carries similar risks, does not have a similar warning in
   its product label. This incorrectly implies to prescribers and patients that rivaroxaban is
   safer to use than warfarin.

          US FDA should highlight US data from ROCKET-AF, when available

   Because the ROCKET-AF trial compared rivaroxaban to poorly-managed warfarin, it
   should not be assumed that similar effects would be seen when rivaroxaban was used
   in the US. Because US-specific data was available, where warfarin use was better
   regulated, the product label should include specific mention of how rivaroxaban
   compares to US-warfarin use. In this light, rivaroxaban would perform statistically worse
   in terms of safety endpoints, which would be a very important statement for prescribers
   like me to share with patients. This information was not added to the US label until
   2015, after being requested to do so by the FDA. (XARELTO_JANSSEN_00000344).

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          No pharmacokinetic data

   The rivaroxaban label fails to present patient variability data (especially 5-95th
   percentiles of plasma concentrations or drug effect). Disclosing the following information
   would certainly help a prescriber, like me, make an informed decision about whether
   rivaroxaban is indeed safe to administer to all patients without monitoring: variability in
   drug concentration per patient over time (pharmacokinetics); variability in effect of the
   medication, as measured by prothrombin time (PT); correlation between high PT levels
   and increased risks of bleeding; that a commercially-available blood test (PT, with
   specific reagents) correlated closely with drug concentration and bleeding effect; or that
   “super-responders” exist, with very high blood thinning effect compared with the general
   population taking this medication (see below).

         No advice on how to test, even if I wanted to do so. No advice on clinically
   actionable recommendations regarding bleeding events.

   The rivaroxaban label fails to include the proper instructions for use of the drug, in that it
   does not state how to test and interpret blood test results for the anticoagulant effect. If
   we could identify patients who have very high concentrations or strong blood-thinning
   effects of the drug, we could discontinue the drug or choose a lower dose so as to avoid
   unnecessary risk of harm. I have been involved in several critical clinical situations
   where a blood test result of anticoagulant effect would be the key factor in deciding
   whether a patient is deemed safe to go to the operating room for emergent surgery, if
   such testing and guidance were available. Undoubtedly, patients have suffered because
   of the lack of ability to test and interpret the anticoagulant effect of rivaroxaban.


   C) The Bayer/Janssen Sales Representatives—

   As described above, when rivaroxaban was approved, the marketing focused on once-
   daily dosing, no need for blood testing (because of consistent intra-patient variability),
   and a broad therapeutic window (resulting in consistent inter-patient variability across
   populations of patients).

          Rivaroxaban is a better twice-daily dose

   With a half-life of 5-13 hours, conventional pharmacologic strategies would suggest that
   rivaroxaban would be best suited as a twice-daily rather than once-daily dose regimen.
   In fact, rivaroxaban is used as twice-daily regimen for other indications (treatment of
   venous thromboembolism or pulmonary embolism). Benefits of once-daily dosing over
   twice-daily dosing would be better patient compliance and strategic marketing
   advantages against other twice-daily dosed oral anticoagulants. For my patients,
   however, I want the safest and best dose possible. For drugs with such a short half-life,
   a twice-daily dosing strategy intuitively provides a more consistent drug effect without
   risks of “overshoot.” The FDA has supported this position as well. (FDA Summary
   Review Memorandum, NDA 202439)


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   Figure 5. Once-daily vs. Twice-daily dosing: simulated plasma concentration of an
   anticoagulant drug with ~12 hour half life using either once-daily (green) or twice-daily
   (red) dosing strategy. (Vrijens and Heidbuchel, Europace, 2015)




   Compared to a twice-daily smaller dose, a once-daily larger dose of rivaroxaban will
   result in periods of time whereby patients are at increased risk of bleeding effect.
   Moreover, the continuity of drug effect is greater with twice-daily dosing.

          Narrow therapeutic window

   It is incorrect and misleading to market that rivaroxaban has a broad therapeutic index.
   Rivaroxaban, as with all oral anticoagulants, has an intrinsically narrow therapeutic
   index. This is largely due to the severity of the outcomes that can occur if too little effect
   is present (stroke or systemic embolism) or if too much on an effect is present (severe
   bleeding). Careful dose selection is needed to achieve optimal benefit/risk balance. The
   US FDA shares similar opinions regarding anticoagulants intrinsically having a narrow
   therapeutic index by declaring that all anticoagulants “are intrinsically narrow
   therapeutic range drugs because their principal toxicity, bleeding, is a result of their
   intended pharmacodynamics activity; too low a dose results in inadequate prevention of
   pathological thrombosis and consequent serious clinical events and too high a dose
   results in excessive inhibition of physiologic clotting and excessive bleeding.” (FDA
   Summary Review Memorandum, NDA 202439)

          Inter-patient variability

   Unlike the message that is shared by the sales team, rivaroxaban seems to have at
   least a moderate inter-patient variability. There were no phase 2 dose-finding studies for
   patients with AF; rather, the phase 2 dose-finding studies were performed in patients
   undergoing treatment for the prevention of deep venous thrombosis (DVT) for only a
   few weeks at a time. From these studies, the dose of 20mg once-daily was estimated
   based on computer modeling from patients in these studies. However, in these studies,

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   the exposure to the medication is short (only during the post-operative time period). In
   AF, the exposure to medication is life-long, and the risks related to bleeding may not be
   fully appreciated in such a short-exposure time course. In short, it is not appropriate to
   use the short duration DVT studies to ascertain lifetime risks for patients with AF taking
   rivaroxaban. As described by Dr. Mueck, a chief scientist in rivaroxaban development,
   the “inter-individual variability in pharmacokinetics was moderate (30–40%) and
   was consistent over the 12-week duration of the studies.” (Mueck, Clinical
   Pharmacokinetics, 2014)

   Computer modeling of human dose response makes for graphs that visually appear that
   there is little inter-patient variability. For example, here is a graph that was shared with
   me when I asked Janssen/Bayer representatives for evidence of plasma concentrations
   in users of rivaroxaban:

   Figure 6. Population-based computer modeling of rivaroxaban concentration




   (Mueck, Clinical Pharmacokinetics, 2014)

   However, in healthy subjects who took 20mg doses and had blood concentrations of
   rivaroxaban checked periodically, the half-life of the medication ranged from 4.79 to
   36.43 hours (Figure 7), which is an enormous range.




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   Figure 7. Pharmacokinetic parameters of rivaroxaban in healthy subjects after
   escalating doses




   (Mueck, Clinical Pharmacokinetics, 2014)

   Clinically speaking, if rivaroxaban were taken at this dose, over time patients at the
   extremes of the plasma half-lives will either have inadequate levels or supratherapeutic
   levels of rivaroxaban in their blood, leaving them at increased risk of stroke or bleeding
   events, respectively.

   Computer simulations can demonstrate very predictable and reproducible curves for
   many different populations of patients, as it represents each patient population as a
   single line (patient-population-level). In truth, at a patient-level, the distribution of
   concentrations in the blood is considerably more scattered. This is shown in the two
   figures below (Mueck, Clinical Pharmacokinetics, 2011, online supplement) where
   individual patient plasma concentration levels are represented as a point and computer
   modeling predicted a range within 90% of patients’ plasma concentrations.




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   Figure 8. Plasma concentrations for patients taking rivaroxaban at escalating doses at
   various time points during day 1 and day 21 (note the points at very high
   concentrations, [red arrows] corresponding to “super-responders.”).




   Figure 9. Plasma concentrations for patients taking rivaroxaban at three different doses
   on day 1 (2-4 hours post-dose), day 43 (20-24 hours post-dose) and day 84 (2-8 hours
   post-dose).




   (Mueck, Clinical Pharmacokinetics, 2011, online supplement)


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   Most importantly, across each dose that was tested (10, 20, 30, 40 mg doses) and
   across every time point tested (day 1, 21, 43, 84) there were “outliers” that
   demonstrated very high plasma concentrations or very low plasma
   concentrations. These patients are at risk for bleeding events and stroke or
   systemic embolism, respectively.

   This wide inter-patient variability is further confirmed in a small subset of patients from
   the ROCKET-AF study (161 patients) in whom blood tests were drawn (Girgis, Journal
   of Clinical Pharmacology, 2014). Blood plasma levels for patients taking rivaroxaban
   was measured and compared to computer modeling for expected populations. While the
   authors concluded that the computer modeling was largely accurate, again seen were
   significantly wide ranges of plasma concentrations and bleeding effect among patients
   taking the same dose of rivaroxaban.

   Figure 10. Plasma concentrations for patients taking rivaroxaban in ROCKET-AF.




   (Girgis, Journal of Clinical Pharmacology, 2014)

   Each blue dot represents a single patient, showing the blood plasma concentration at
   timepoints after a 20mg dose of rivaroxaban. At each time point, there are wide ranges
   of plasma concentrations of rivaroxaban, demonstrating a large inter-patient variability.
   Most importantly, 24 hours after drug exposure, when patients are preparing to take
   their next pill, some patients still have very high levels of rivaroxaban in their blood (at
   risk for bleeding). Also, some patients have very low levels of rivaroxaban in their blood
   throughout the day (at risk for stroke).

   Notably, these important rivaroxaban variability data in ROCKET-AF are not in the label.




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   How Could We Deliver Rivaroxaban to Our Patients in the Safest and Best Way?

   Using a patient-specific concentration graph as an example (Figure 11), one can see
   that just three hours after the first dose of 20mg rivaroxaban, some patients have an
   exaggerated response (concentration in excess of 500 mcg/L) and others have
   essentially no response to the medication (<50 mcg/L).

   Figure 11. Rivaroxaban plasma concentration variation after a single 20mg dose




   (Mueck, Clinical Pharmacokinetics, 2011, online supplement)

   A single blood test at this time point would identify the “outliers” who are at
   excess risk for bleeding or stroke. This excess risk related to rivaroxaban use is
   largely preventable.

   Therapeutic Drug Monitoring

   Having the ability to accurately monitor the anticoagulant effect and level is a necessary
   tool to safely administer oral anticoagulants across different patient populations,
   especially with medications that have widely variable plasma concentrations between
   patients.

   However, mitigating this excess risk comes with a clear cost: excess complexity for
   starting a medication is an impediment, and doctors would be less likely to prescribe
   this medication, especially if other similar blood thinners did not require this additional
   testing step. While additional testing would clearly improve the safety and efficacy for
   patients, it would cost Bayer/Janssen in market share and drug sales. Per the FDA
   advisory committee, up to 25% of patients enrolled into ROCKET-AF were exposed to
   very high levels of rivaroxaban, as evidenced by PT values > 20 seconds. If a similar
   number or rivaroxaban users were identified in the real world populations to be at high
   risk for bleeding, one might easily conclude that these patients would switch blood
   thinners to other more predictable and less potent anticoagulants, which could be a very
   large loss of market share for Bayer/Janssen.



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   Xarelto is a highly effective drug; however, it confers common serious side effects in the
   form of bleeding events. According to data contained in the Xarelto clinical trial
   experience, and as confirmed in real-world observational studies, Xarelto is responsible
   for tens of thousands of major bleeding events requiring hospitalization, and even some
   resulting in death. In light of this backdrop, any means to improve the safety profile of
   Xarelto should be aggressively pursued. (Patel, NEJM, 2011; Graham, JAMA, 2016;
   Halvorsen, European Heart Journal, 2016)

   There is a near linear correlation between rivaroxaban drug concentration and
   Prothrombin Time (PT), thus indicating that PT could be used as a surrogate marker for
   exposure. This opinion is shared with the FDA, who compiled the below figure in their
   review of the atrial fibrillation indication for rivaroxban:




   (FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
   Sept. 8, 2011)

   Furthermore, there is no evidence of increasing efficacy with increasing exposure to
   rivaroxaban. The FDA again corroborates this opinion.




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   (FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
   Sept. 8, 2011)

   Notably, the FDA concluded that “the risk of major bleeds increases with PT,” thereby
   confirming the relationship between PT and bleeding.




   (FDA Briefing Information, Cardio Renal Advisory Committee Meeting, NDA 202439,
   Sept. 8, 2011)




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   In sum, there is no evidence of additional benefit with highest anticoagulant effect with
   rivaroxaban. However, there is evidence of additional bleed risk with higher
   anticoagulant effect.

   Accordingly, it is my opinion that the PT lab test, with the appropriate reagent, collected
   at the appropriate time, is a helpful and necessary method of identifying my patients at
   the highest risk of suffering a Xarelto-related bleeding event. In fact, my opinion was
   echoed by the FDA:

          The clinical pharmacology and clinical reviewers demonstrated that
          there is a linear correlation between rivaroxaban levels and prothrombin
          time (PT). They also demonstrated that there is also a correlation
          between PT and risk of bleeding. This applicant has not chosen to
          utilize this information… However, infrequent monitoring… to assure
          appropriate dosing of drugs that prevent stroke and cause bleeding
          may improve outcomes and be acceptable to patients.

          (FDA Summary Review Memorandum, NDA 202439)

   Thus, while the FDA took the position that additional blood testing (PT) can be used to
   evaluate exposure to improve outcomes, Bayer/Janssen have failed to include such
   information in the label.




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                                APPENDIX A




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of the literature. 7KURPERVLV/LWHUDWXUH  
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rivaroxaban. 7KURPE+DHPRVW  
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apixaban. &DQDGLDQ-RXUQDORI&DUGLRORJ\66  
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analysis of ROCKET AF. /DQFHW1HXURO
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6LOYHUPDQ(J&J blood thinner under review for trial overseen by FDA nominee Califf. 67$7 'HF
WHQ&DWH+New oral anticoagulants: discussion on monitoring & adherence should start now! 7KURPERVLV-RXUQDO  




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7ULSRGL$HWDOThe International Normalized Ratio calibrated for rivaroxaban has the potential to normalize prothrombin time results for rivaroxaban-
treated patients: results of an LQYLWUR study. -RXUQDORI7KURPERVLVDQG+DHPRVWDVLV    

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                                APPENDIX B




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   Phillip S. Cuculich, MD
   Curriculum Vitae, Updated August 2016


   Personal Information/Citizenship

   Citizen of United States of America

   Contact Information
   Office:                                              Home:
   Washington University School of Medicine
   660 South Euclid Avenue
   Campus Box 8086
   Saint Louis, MO 63110
   Phone: (314) 454-7698
   Fax: (314) 454-8250
   Email: pcuculic@dom.wustl.edu

   Present Position
   Associate Professor, Department of Internal Medicine, Cardiovascular Division

   Education
   UNDERGRADUATE
   1993—1997                        Bachelor of Science, Biochemistry
                                    Boston College, Summa Cum Laude
                                    Chestnut Hill, MA
   GRADUATE
   1997—2001                        Doctor of Medicine
                                    Vanderbilt University School of Medicine
                                    Nashville, TN
   POSTGRADUATE
   2001—2004                        Residency, Internal Medicine
                                    Northwestern University, McGaw Medical Center
                                    Chicago, IL

   2004—2005                        Chief Resident, Internal Medicine
                                    Northwestern University, McGaw Medical Center
                                    Chicago, IL

   2005—2007                        Fellow, Cardiovascular Diseases
                                    Barnes-Jewish Hospital, Washington University
                                    Saint Louis, MO

   2007—2009                        Fellow, Clinical Cardiac Electrophysiology
                                    Barnes-Jewish Hospital, Washington University
                                    Saint Louis, MO

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   Academic Positions/Employment
   2004—2005                  Instructor, Department of Internal Medicine
                              Northwestern University Feinberg School of Medicine
                              Chicago, IL

   2009—2016                      Assistant Professor of Medicine
                                  Washington University School of Medicine
                                  Saint Louis, MO

   2016—present                   Associate Professor of Medicine
                                  Washington University School of Medicine
                                  Saint Louis, MO

   University and Hospital Appointments and Committees
   2004—2005                      Attending Physician, Medicine
                                  Northwestern Memorial Hospital
                                  Chicago, IL

   2004—2005                      Attending Physician, Medicine
                                  Jesse Brown Veterans Hospital
                                  Chicago, IL

   2006—2009                      Staff Physician, Medicine & Cardiology
                                  Barnes-Jewish Hospital

   2007                           Acute Coronary Syndrome Door-to-Balloon time
                                  Improvement Committee
                                  Barnes-Jewish Hospital

   2009—present                   Attending Physician, Cardiac Care Unit &
                                  Electrophysiology Consult Service
                                  Barnes-Jewish Hospital

   2009—present                   Outpatient Consultation Service
                                  Parkland Health Center
                                  Farmington, MO

   2009—present                   Invited Member, Cardiac Bioelectricity and Arrhythmia
                                  Center (CBAC) at Washington University

   2010—2011                      Washington University Department of Internal
                                  Medicine Webpage Committee
                                  Washington University School of Medicine

   2014—present                   Cardiac Catheterization Clinical Expert Council
                                  Barnes-Jewish Corporation

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   2015—present                    Invited Member, Center for Cardiovascular Research
                                   (CCR) at Washington University


   Medical Licensure and Board Certification
   2004 American Board of Internal Medicine, National Board of Medical Examiners
   2008 American Board of Internal Medicine, Cardiovascular Diseases (current)
   2009 American Board of Internal Medicine, Clinical Electrophysiology (current)
   2004—2005         Illinois Medical License (IL036110903)
   2005—present      Missouri Medical License (MO 2005018586)


   Honors and Awards
   1997: Phi Beta Kappa National Honor Society, Boston College
   1997: Scholar of the College, Highest Academic Distinction, Boston College
   1997: James Flack Norris / Theodore William Richards Scholar (American Chemical
         Society)
   1999: Class President, Vanderbilt University School of Medicine
   1999: Finalist – Seventeenth Annual Vanderbilt University Medical Center Research
         Forum, Vanderbilt University School of Medicine
   2002: Alpha Omega Alpha, Gamma Chapter, Illinois, Northwestern University School of
         Medicine
   2002: Walter Rambach Award, Most Outstanding Medical Intern, Northwestern
         University School of Medicine
   2002: Excellence in Teaching Award, Northwestern University School of Medicine
   2004: Stanford Medical Faculty Development Program Award, Northwestern University
         School of Medicine
   2007: CORTEX Imaging-Based Projects in Human Cardiovascular
         Physiology/Pathophysiology Research Award
   2010: Craig K. Reiss, MD, Award for Excellence in Teaching, Cardiovascular Division,
         Washington University School of Medicine
   2010: Outstanding New Faculty Award, Department of Internal Medicine, Washington
         University School of Medicine
   2012: Craig K. Reiss, MD, Award for Excellence in Teaching, Cardiovascular Division,
         Washington University School of Medicine
   2012: First Place Award, Northwestern Cardiovascular Young Investigators’ Research
         Forum, Chicago, IL
   2013: Top 5% Patient Satisfaction Scores, Washington University Physicians
   2014: BJC Physician Leadership Series Training Course
   2015, 2016: St. Louis Magazine “Best Doctors in America” List




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   Editorial Responsibilities/Course Directorship


   Textbooks
   Washington Manual Cardiology Subspecialty Consult, Second Edition. Cuculich PS
   and Kates AK, editors. Lippincott, Williams & Wilkins, 2009.

   Washington Manual Cardiology Subspecialty Consult, Third Edition. Cuculich PS and
   Kates AK, editors. Lippincott, Williams & Wilkins, 2014.


   Course Directorship
   2013: Nonvalvular Atrial Fibrillation (St. Louis, Pfizer)

   2016: Noninvasive Stereotactic Cardiac Radiotherapy for Arrhythmias National
   Symposium (Chicago, Varian Medical Systems)

   2016: What Every Cardiologist Needs to Know About Managing Sudden Cardiac Death
   Risk (American Heart Association, Barnes-Jewish/Washington University Heart &
   Vascular Center, New Orleans)


   Peer-Reviewed Manuscript Reviewer
   Journal of the American College of Cardiology
   Journal of the American College of Cardiology-Clinical Electrophysiology
   Circulation
   Circulation-Genetics
   Circulation-Arrhythmia & Electrophysiology
   Heart Rhythm Journal
   American Journal of Cardiology
   Journal of the American Geriatric Society
   Cleveland Clinic Journal of Medicine
   Clinical Journal of the American Society of Nephrology
   PLoS ONE


   Professional Societies and Organizations
   1997—2011                American Medical Association

   2005—current                 American College of Cardiology

   2008—current                 Heart Rhythm Society

   2012—current                 Sudden Cardiac Arrest Association, Gateway Chapter




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   Major Invited Professorships and Lectureships
   2006: American College of Cardiology Scientific Sessions, Atlanta, GA
         “Is there a Role for Implantable Cardioverter-Defibrillator Therapy for the Primary
         Prevention of Sudden Death in Patients with Chronic Kidney Disease?”
   2008: Frontiers in Computational Electrocardiology, Maastricht University, Maastricht,
         Netherlands
         “Cardiologist’s view on ECG Imaging: Perspectives and Limitations”
   2008: Cardiovascular Dynamics Society National Meeting
         “Noninvasive Electrocardiographic Imaging (ECGI) of Atrial Arrhythmias”
   2009: Cardiology Grand Rounds, University of South Florida School of Medicine
         “Electrocardiographic Imaging (ECGI): A Clinician’s View of a Novel Technology”
   2009: Medicine Grand Rounds, Washington University School of Medicine
         “Electrocardiographic Imaging (ECGI): A Clinician’s View of a Novel Technology
         Toward the Treatment of Atrial Fibrillation”
   2009: Heart Rhythm Society Scientific Sessions, Boston, MA
         “Noninvasive Imaging of Atrial Fibrillation in Humans”
         “Epicardial Ablation of Ventricular Tachycardia in the Setting of Cardiac
         Sarcoidosis”
   2010: Heart Rhythm Society Scientific Sessions, Denver, CO
         “Severity of Mitral Regurgitation is Associated with Death or ICD Therapy”
   2010: Medicine Grand Rounds, Washington University School of Medicine
         “A Brave New World: Innovations for Atrial Fibrillation”
   2010: Heart Rhythm Society Transition to Practice Symposium, Chicago, IL
         “Fighting for Resources: How to Get What You Want”
   2010: Cardiology Update, Washington University School of Medicine (CME):
         “Updates in Managing Atrial Fibrillation”
   2011: Stanford BioDesign in Electrophysiology Symposium, Palo Alto, CA
         “Electrocardiographic Imaging (ECGI) for Noninvasive Arrhythmia Mapping and
         Sudden Death Risk Stratification”
   2011: Cardiac Bioelectricity and Arrhythmia Center (CBAC), St. Louis, MO
         “Noninvasive ECG Imaging (ECGI)”
   2011: Cardiology Grand Rounds, University of Texas-Southwestern, Dallas, TX
         “Ablation Biophysics: A Wet-Tank Experience”
   2011: Medicine Grand Rounds, Washington University School of Medicine
         “Emerging Technologies for Atrial Fibrillation”
   2011: Cardiology Review for Primary Care, Montreal, Canada
   2011: European EP Fellows Training Course, Madrid, Spain
         “Ablation Biophysics: A Wet-Tank Experience”
   2011: Heart Rhythm Society Transition to Practice Symposium, Chicago, IL
         “Fighting for Resources: How to Get What You Want”
   2012: Grand Rounds, Monroe County Medical Center, Tompkinsville, KY
         “Early CRT Intervention Reduces Death & Heart Failure Events: Updated
         Insights form MADIT-CRT”
   2012: Medicine Grand Rounds, Washington University School of Medicine
   2012: Washington University National Council Meeting, St. Louis, MO
         “Innovations for Atrial Fibrillation”

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   2012: Stanford BioDesign in Electrophysiology Symposium, Boston, MA
         “New Developments in Noninvasive (Atrial) Mapping”
   2012: Cardiostim 18th World Congress Cardiac Electrophysiology, Nice, France
         “Noninvasive Electrocardiographic Imaging (ECGI) of Human Atrial Fibrillation:
         What Can We See Without Catheters?”
   2012: Cardiology Review for Primary Care, Orlando, FL
   2012: Cardiac Rhythm Disorders: EP Fellow Training, Austin, TX
         “Defining Atrial Arrhythmias”
         “Imaging Fundamentals Using Fluoroscopy and ICE”
   2012: American Heart Association Scientific Sessions, Los Angeles, CA
         “Novel Mapping Techniques in Human Atrial Fibrillation”
         “Noninvasive Electrocardiographic Imaging Demonstrates Early Structural and
         Functional Changes Associated with Paroxysmal Atrial Fibrillation in Humans”
   2013: Cardiology Grand Rounds, University of Texas-Southwestern, Dallas, TX
         “Biophysics of Radiofrequency Ablation”
   2013: Cardiology Review for Primary Care, Park City, UT
   2013: Medicine Grand Rounds, Washington University School of Medicine
         “Innovations for Atrial Fibrillation”
   2013: Boston Atrial Fibrillation Symposium, Boston, MA
         “Noninvasive Electrocardiographic Imaging (ECGI) of Human Atrial Fibrillation:
         What Can We See Without Catheters?”
   2013: Advanced Revascularization Chapter VII (ARCH VII), St. Louis, MO
         “Left Atrial Appendage Closure: New Frontier for Stroke Prevention in Atrial
         Fibrillation?”
   2013: American College of Cardiology Scientific Sessions, San Francisco, CA
         “On the Front Lines: Selection of Patients for ICD for Primary Prevention”
   2013: Stanford BioDesign in Electrophysiology Symposium, Denver, CO
   2013: Heart Rhythm Society Scientific Sessions, Denver, CO
         “AF Begetting AF: Noninvasive ECGI Demonstrates Electrophysiological
         Changes in Humans with Paroxysmal AF which is Associated with AF
         Recurrence after PVI”
   2013: Cardiology Grand Rounds, University of Illinois in Chicago, Chicago, IL
         “A Brave New World: Innovations for Atrial Fibrillation”
   2013: Top 10 in Cardiology International Meeting, University Hospital of Lausanne,
         Switzerland “New Visions on AF and VF Triggers”
   2013: Cardiology for Primary Care, Jackson Hole, WY
   2013: American Heart Association Scientific Sessions, Dallas, TX
         “Left Atrial Appendage Occluders: An Electrophysiologist’s Perspective”
   2014: Boston Atrial Fibrillation Symposium, Orlando, FL
         “Advances in & Limitations of Noninvasive Mapping of AF”
   2014: American College of Cardiology Scientific Sessions, Washington, DC
   2014: Cardiology for Primary Care, Orlando, FL
   2014: Stanford BioDesign in Electrophysiology Symposium, Palo Alto, CA
   2014: Heart Rhythm Society Scientific Sessions, San Francisco, CA
         “New Arrhythmia Technologies: New Developments in Intracardiac and
         Noninvasive Mapping”

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   2014: Cardiostim 20th World Congress Cardiac Electrophysiology, Nice, France
         “Noninvasive Mapping of Ventricular Tachycardia”
   2014: Orear Institute for Post-Graduate Studies, Kansas City, MO
         27th Annual “Recent Advances in Medicine” Conference
   2014: Cardiology Grand Rounds, Texas Heart Institute/CHI/Baylor St. Luke’s Medical
         Center, Houston, TX: “A Brave New World: Innovations for Atrial Fibrillation”
   2014: Cardiology Review for Primary Care, New York, NY
   2014: Cardiology Update, Washington University School of Medicine (CME):
         “Empowering Patients or Big Brother Watching? New Options to Monitor Heart
         Rhythms”
   2014: Department of Obstetrics & Gynecology Grand Rounds, Washington University
         School of Medicine: “Prematurity Research Center @ Washington University”
   2015: Session Chair, American College of Cardiology Scientific Sessions, San Diego,
         CA “Controversies in Atrial Fibrillation”
   2015: Cardiology Review for Primary Care, Montego Bay, Jamaica
   2015: Advanced Revascularization Chapter VIII (ARCH VIII), St. Louis, MO
         “Left Atrial Appendage Closure”
   2015: Cox Health Heart & Vascular Summit, Branson, MO.
         “Preventing Sudden Cardiac Death & Treating Ventricular Tachycardia.”
   2015: Cardiac Bioelectricity & Arrhythmia Center (CBAC) 10th Anniversary Symposium,
         Washington University, St. Louis, MO
         “Substrates and Mechanisms of Ventricular Arrhythmias: Lessons from
         Noninvasive Mapping with ECGI”
   2015: Cardiology Review for Primary Care, San Francisco, CA
   2016: American College of Cardiology Annual Scientific Sessions, Chicago, IL
         “Emerging Technologies for Atrial Fibrillation Management”
   2016: Cardiology Review for Primary Care, Orlando, FL
   2016: Pediatric Academic Societies (PAS) Annual Meeting, Baltimore, MD
         “Noninvasive Electrical Mapping of the Gravid Uterus”
   2016: Stanford BioDesign in New Arrhythmia Technologies Symposium, Palo Alto, CA
         “Firing Solutions: Noninvasive Cardiac Mapping and Ablation”
   2016: Heart Rhythm Society Annual Meeting, San Francisco, CA
   2016: Cardiostim 2016—World Congress Cardiac Electrophysiology, Nice, France
         “Noninvasive Mapping of Ventricular Tachycardia”
   2016: American Heart Association Annual Scientific Sessions, New Orleans, LA
         “Noninvasive Mapping of Atrial Fibrillation: Better Vision for AF Ablation?”
   2016: Cardiac Bioelectricity and Arrhythmia Center (CBAC), St. Louis, MO
         “The Future of Completely Noninvasive Characterization and Treatment of
         Cardiac Arrhythmias”
   2016: Keynote Speaker: Frontiers in Computational Electrocardiology, Maastricht
         University, Maastricht, Netherlands
         “The Future of Completely Noninvasive Characterization and Treatment of
         Cardiac Arrhythmias”
   2016: 11th Annual International Symposium on Ventricular Arrhythmias:
         Pathophysiology & Therapy. New York, NY.
         “Noninvasive Ablation for Refractory VT”

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   Consulting Relationships and Board Memberships (in the past 5 years)
   MCE Conferences, Varian Medical Systems


   Research Support
   Source:          Barnes-Jewish Hospital Competitive Grant
   Title:           “EnCore VT Trial: Phase I/II Study of EP-guided Noninvasive
                    Cardiac Radioablation (ENCORE) for Treatment of Ventricular
                    Tachycardia”
   Period:          03/01/2013—present
   Funding:         $75,000
   Role:            Principal Investigator

   Source:            March of Dimes [Alan Schwartz MD, PhD, (PI)]
   Title:             Washington University Transdisciplinary Research on Prematurity
                      (WU-TROP)
   Period:            10/01/2014—10/1/2019
   Total funding:     $15,000,000
   Role:              Co-Principal Investigator; Theme 2, “Three-dimensional
                      Electrophysiology of the Uterus: Early Electrical Maturation in the
                      Etiology of Preterm Birth”
   FY 2015 funding:   $1,034,058

   Source:            NIH R37-HL-33343 [Yoram Rudy PhD, (PI)]
   Title:             “Inverse and Forward Problems in Electrocardiography”
   Period:            07/01/85—present
   FY 2015 funding:   $250,000
   Role:              Collaborator since 2009

   Source:            NIH R01-HL-032257 [Ralph Damiano, MD (PI)]
   Title:             “Surgical Treatment of Cardiac Arrhythmias”
   Period:            07/01/1982—present
   FY 2015 funding:   $369,279
   Role:              Co-Principal Investigator since 2013

   Source:            NIH Loan Repayment Program (LRP)
   Title:             “Relationship Between Atrial Substrate, Epicardial Electrical
                      Activation Pattern, and Arrhythmia Recurrence in Human Atrial
                      Fibrillation using Electrocardiographic Imaging (ECGI)”
   Period:            07/01/2011—07/01/2014
   FY 2014 funding:   Variable
   Role:              Mentored Principal Investigator [Y. Rudy]

   Source:            Barnes-Jewish Hospital Competitive Grant

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   Title:            “Electrocardiographic Imaging (ECGI) of Human Atrial Fibrillation”
   Period:           07/01/2010—present
   Funding:          $100,000
   Role:             Principal Investigator

   Source:           Northwestern Cardiovascular Young Investigators’ Research Forum
   Title:            “Noninvasive Electrocardiographic Imaging (ECGI) Identifies
                     Functional and Structural Remodeling in Early Human Atrial
                     Fibrillation”
   Period:           7/01/2012, one time award
   Funding:          $1,750
   Role:             Principal Investigator

   Source:           Washington University School of Medicine/Mentors in Medicine
   Title:            “Identification of Conditions that Enhance or Diminish the Benefit of
                     Implantable Cardiac Defibrillators in Patients at High-Risk for
                     Sudden Death”
   Period:           07/01/2008—present
   Funding:          Variable
   Role:             Mentor, for Residents in Internal Medicine

   Source:           Biotronik, NCT00683696
   Title:            Echo-CRT: Echocardiography Guided Cardiac Resynchronization
                     Therapy
   Period:           02/01/2012—6/1/2013
   Funding:          Variable
   Role:             Site Principal Investigator

   Source:           Bio Control, NCT01303718
   Title:            INcrease Of VAgal TonE in CHF (INOVATE-HF)
   Period:           02/01/2012-12/1/2015
   Funding:          Variable
   Role:             Co-Investigator, Implanter

   Source:           St. Jude Medical, NCT00873691
   Title:            Prospective Comparison of 50/50% Tilt and Tuned Defibrillation
                     Waveforms in Right-Sided Implants Study (TILT AND TUNED)
   Period:           03/01/2009—11/01/2011
   Funding:          Variable
   Role:             Site Principal Investigator




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   Clinical Title and Responsibilities
   Associate Professor of Medicine
         Cardiac electrophysiology (EP) procedures, with a focus on complex ablation
                    x Atrial fibrillation (AF)
                    x Ventricular tachycardia (VT)
                    x Epicardial access and procedures
                    x Implanted cardiac devices
         Innovative cardiac electrophysiology procedures
                    x Noninvasive VT ablation
                    x Lariat left atrial appendage occluder
                    x Hybrid epicardial/endocardial AF procedure
                    x Vagal nerve stimulator for treatment of heart failure
                    x Ventricular fibrillation ablation
                    x VT ablation with left ventricular assist device (LVAD)
                    x VT ablation with percutaneous cardiac support (Impella)
                    x Implantable loop recorder (ILR) for cryptogenic stroke
         Inpatient attending in Cardiac Intensive Care Unit
         Inpatient consultation service for cardiac electrophysiology
         Outpatient consultation for cardiac electrophysiology and sudden cardiac arrest


   Teaching Title and Responsibilities
   Associate Professor of Medicine
         Clinical Cardiac Electrophysiology Fellows
                   x Direct procedural teaching and supervision for full range of cardiac
                       EP procedures
                   x Didactic teaching of the advanced concepts related to interpretation
                       of cardiac electrograms
                   x Supervision for both inpatient and outpatient consultative opinions
                   x Pertinent presentations at weekly EP conference
         Additional didactic and hands-on teaching provided for cardiovascular fellows,
         internal medicine residents and medical students in respective roles.
         Thesis Committee Member
                   x Ph.D. Wenwen Li: “New Paradigm of Defibrillation: Towards
                       Painless Therapy” June 2011
                   x Ph.D. Junjie Zhang: November 2015
                   x Ph.D. Ramya Vijayakumar: September 2016




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   Bibliography

   Textbook Editor

   1. Washington Manual Cardiology Subspecialty Consult, Second Edition. Cuculich PS
   and Kates AK, editors. Lippincott, Williams & Wilkins, 2009.

   2. Washington Manual Cardiology Subspecialty Consult, Third Edition. Cuculich PS
   and Kates AK, editors. Lippincott, Williams & Wilkins, 2014.


   Peer-reviewed manuscripts

   1. Klein KA, Cuculich PS, Mellen BG, and Shenai JP. Effect of Dexamethasone on
   Retinopathy of Prematurity in Preterm Infants. Pediatr Res 1999; 45: 205A.

   2. Cuculich PS, Delozier KA, Mellen BG, and Shenai JP. Postnatal dexamethasone
   treatment and retinopathy of prematurity in very-low-birth-weight neonates.
   Biol Neonate. 2001; 79: 9-14. PMID: 11150824

   3. Felker GM, Cuculich PS, Gheorghiade M. The Valsalva Maneuver: A Bedside
   ‘Biomarker’ for Heart Failure. Am J Med 2006; 119: 25-30. PMID: 16443410

   4. Cuculich PS, Sanchez JM, Kerzner R, et al. Poor Prognosis for Patients with
   Chronic Kidney Disease Despite ICD Therapy for the Primary Prevention of Sudden
   Death. Pacing Clin Electrophysiol 2007; 30: 207-13. PMID: 17338717

   5. Wang Y, Cuculich PS, Woodard PK, Lindsay BD, Rudy Y. Focal Atrial Tachycardia
   after Pulmonary Vein Isolation: Noninvasive Mapping with Electrocardiographic Imaging
   (ECGI). Heart Rhythm 2007; 8: 1081-4. PMID: 17675084

   6. Wang Y, Li L, Cuculich PS, Rudy Y. Electrocardiographic Imaging of Ventricular
   Bigeminy in a Human Subject. Circ Arrhythmia Electrophysiol 2008; 1: 74-5. PMID:
   19043599

   7. Cuculich PS, Cooper JA, Faddis MN. Superior vena cava obstruction due to
   repeated radiofrequency sinus node modification procedures. Heart Rhythm 2009; 6:
   865-6. PMID: 18948064

   8. Cuculich PS, Cooper DH. Sleuthing Safer Epicardial Access: Pericardial Pressure
   Frequency “Fingerprinting.” Heart Rhythm. 2010; 7: 610-1. PMID: 20206322

   9. Cuculich PS*, Wang Y*, Lindsay BD, Faddis MN, Schuessler RD, Damiano RJ, Li L,
   Rudy Y. Noninvasive Characterization of Epicardial Activation in Humans with Diverse
   Atrial Fibrillation Patterns. Circulation 2010; 122:1364-1372. PMID: 20855661



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                                APPENDIX C




                                                                             USCA5 2699
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                    Litigation Expert Testimony/Opinions (2011-2016)


   Defendant
      x Arrhythmia cause (Amrollah Hosseini v. Aquatic Enterprises, Inc. St. Charles
         County, Missouri. Case # 1311-CC00780, settled 6/2015)

      x   Sudden cardiac death (Rice v. Nein) COMMONWEALTH OF KENTUCKY
          MUHLENBERG CIRCUIT COURT CIVIL ACTION NO. 13-CI-00400 (settled
          10/2015)


   Plaintiff
      x Complication of Afib treatment and blood thinner use (Dylewski v. Marguiles &
           Knoxville Comprehensive Breast Center; Knox Co, TN #1-388-14, settled
           7/2016)

      x   Sudden cardiac death (Moore v. Kaminski, City of Ferguson; Eastern District MO,
          No. 4:14-CV1443 SNLJ & 4:14-CV1447 SNLJ, open)




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                                APPENDIX D




                                                                             USCA5 2701
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                                             Fee Schedule


   My fee in this matter is $500 per hour.




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